








MEMORANDUM OPINION




No. 04-03-00914-CR



Adam WISNESKI,


Appellant



v.



The STATE of Texas,


Appellee



From the 227th Judicial District Court, Bexar County, Texas


Trial Court No. 2003-CR-0040


Honorable Philip A. Kazen, Jr., Judge Presiding



PER CURIAM


Sitting:	Catherine Stone, Justice

		Paul W. Green, Justice

		Sarah B. Duncan, Justice


Delivered and Filed:	March 3, 2004


DISMISSED

	The trial court's certification in this appeal states that this case "is a plea-bargain case, and
the defendant has NO right of appeal."  It further states "the defendant has waived the right of
appeal."  Rule 25.2(d) of the Texas Rules of Appellate Procedure provides, "[t]he appeal must be
dismissed if a certification that shows the defendant has a right of appeal has not been made part of
the record under these rules."  Tex. R. App. P. 25.2(d).  On January 6, 2004, we ordered that this
appeal would be dismissed pursuant to Rule 25.2(d) unless an amended trial court certification
showing that the appellant has the right of appeal was made part of the appellate record by February
5, 2004.  See Tex. R. App. P. 25.2(d); 37.1; see also Daniels v. State, 110 S.W.3d 174, 177 (Tex.
App.--San Antonio 2003, no pet.).  No such amended trial court certification has been filed.
Therefore, Rule 25.2(d) requires this court to dismiss this appeal.  Accordingly, this appeal is
dismissed.

							PER CURIAM

Do Not Publish


